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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                             UNITED STATES DISTRICT COURT                                January 09, 2023
                              SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                  HOUSTON DIVISION


KONNECH INC.,                                    §
                                                 §
        Plaintiff,                               §
                                                 §
VS.                                              §   CIVIL ACTION NO. 4:22-CV-03096
                                                 §
TRUE THE VOTE INC., et al.,                      §
                                                 §
        Defendants.                              §

                              ORDER FOR EXPEDITED RESPONSE

       Pending before the Court is the defendants’ motion to recuse. (Dkt. No.74). An expedited

response is requested, but not required. Upon receipt of notice that an expedited response has been

filed, any opposing party who aspires to reply is hereby advised to file any reply thereto within 5

days of the date of filing of any expedited response. Your attention in this regard is requested and

appreciated. The response is due no later than January 19, 2023.

       It is so ORDERED.

       SIGNED on January 9, 2023, at Houston, Texas.


                                                      _________________________________
                                                      Kenneth M. Hoyt
                                                      United States District Judge




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